    Case: 1:14-cr-00016 Document #: 86 Filed: 07/17/15 Page 1 of 3 PageID #:172




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                           No. 14 CR 16-2
             v.
                                           Judge Kennelly
SONGHANE TRAORE

              PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the unopposed motion of the Government, pursuant to Fed. R. Crim. P.

16(d), it is hereby ORDERED:

      1.     All of the materials provided by the United States in preparation for,

or in connection with, any stage of the proceedings in this case (collectively, “the

materials”) are subject to this protective order and may be used by defendant and

defense counsel (defined as counsel of record in this case) solely in connection with

the defense of this case, and for no other purpose, and in connection with no other

proceeding, without further order of this Court.

      2.     Defendant and defense counsel shall not disclose the materials or their

contents directly or indirectly to any person or entity other than persons employed

to assist in the defense, persons who are interviewed as potential witnesses, counsel

for potential witnesses, and other persons to whom the Court may authorize

disclosure (collectively, “authorized persons”). Potential witnesses and their counsel

may be shown copies of the materials as necessary to prepare the defense, but may

not retain copies without prior permission of the Court. The materials and their
    Case: 1:14-cr-00016 Document #: 86 Filed: 07/17/15 Page 2 of 3 PageID #:173




contents shall not be disclosed either directly or indirectly to any person or entity

outside of the United States without prior authorization from the Court.

      3.     Defendant, defense counsel, and authorized persons shall not copy or

reproduce the materials except in order to provide copies of the materials for use in

connection with this case by defendant, defense counsel, and authorized persons.

Such copies and reproductions shall be treated in the same manner as the original

materials.

      4.     Defendant, defense counsel, and authorized persons shall not disclose

any notes or records of any kind that they make in relation to the contents of the

materials, other than to authorized persons, and all such notes or records are to be

treated in the same manner as the original materials.

      5.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order.

      6.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be: (1) destroyed; (2) returned to the

United States; or (3) retained in defense counsels’ case file. The Court may require

a certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.

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    Case: 1:14-cr-00016 Document #: 86 Filed: 07/17/15 Page 3 of 3 PageID #:174




       7.     To th
                  he extent any mate
                                   erial is prroduced by the United Statees to

defenda
      ant and deffense counssel by misttake, the U
                                                 United Stattes shall ha
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request the return
                 n of the ma
                           aterial and shall do soo in writing
                                                             g. Within ffive days oof the

receipt of such a request, defendant
                           d         and/or deffense counsel shall rreturn all such

materia
      al if in harrd copy, an
                            nd in the case of el ectronic m
                                                          materials, sshall certiffy in

writing that all co
                  opies of the
                             e specified material h
                                                  have been d
                                                            deleted froom any loca
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in which
       h the mate
                erial was sttored.

       8.     The restrictions
                  r          s set forth in this Order do not apply to d
                                                                       documents that

are or become
       b      parrt of the pu
                            ublic courtt record, in
                                                  ncluding doocuments tthat have b
                                                                                 been

received
       d in eviden
                 nce at oth
                          her trials, nor do th
                                              he restrictiions in th
                                                                   his Order llimit

defense counsel in
                 n the use off discovery materials in judicial proceedings in this ccase.

       9.     Nothing contaiined in this Orderr shall prreclude an
                                                                 ny party from

applying to this Co
                  ourt for furrther relieff or for mod
                                                     dification oof any prov
                                                                           vision hereoof.

                                          ENTER:



                                          F. KENNE ELLY
                                          MATTHEW  W Districtt Judge
                                          United Sta
                                                   ates Distriict Court
                                          Northern District of Illinois

Date: 7/17/2015
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